Case 2:Ol-cr-20202-.]TF Document 276 Filed 05/02/05 Page 1 of 3 Page|D 299

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UNITED STATES DISTRICT COURT
for 05 H!ll' -2 an 9, 32
WESTERN DISTRICT OF TENNESSEE

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U.S.A. vs. MARY ROBERTS Docket No. 2:01CR20202-01

 

Petition on Probation and Supervised Release

COMES NOW Christy J. Henson PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Mary Roberts , Who was placed on supervision by the Honorable Julia Smith
Gibbons sitting in the Court at Memphis, TN , on the _1@ day of January, 2002, who fixed the period of
supervision at three §31years* , and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

l. The defendant shall provide the Probation Officer assess to any requested financial information

2. The defendant is prohibited from opening any additional lines of credit without permission of the Probation
Officer.

3. The defendant shall make restitution in the amount of $151,694.46 as directed by the Probation Office.

(Balance: $150,169.00 as of March 29, 2005)
* Supervised Release initially began in the SI)/MS on September 19, 2003.
** Supervision subsequently transferred to WD/LA (Alexandria).
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Mary Roberts is currently being supervised by Danny D. Harper, United States Probation Officer
(WDH_A/Alexandria). U. S. Probation Offi cer Harper feels Mrs. Robert' s rehabilitative interests Would be better
served if Mrs. Roberts’ conditions of supervision, as indicated on the attached Probation Form 49 (Waiver of
Hearing to Modify Conditions), Were modified to include: (1) Two Hundred Dollar ($200.00) per month restitution
payment; and (2) one hundred percent (100%) of any Federal or State income tax refund during term of supervision
Mrs. Roberts has signed this form indicating her agreement to these modifications

PRAYING THAT THE COURT WILL ORDER that Mary Roberts’ conditions of Supervised Release be
modified as indicated on the attached Probation Form 49.

ORDER OF COURT Respectfully,I ij
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Considered and ordered this 24 day er M , Ar
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nited te Probation Officer
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Place: Memphis. TN

 

Date: April 25. 2005

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Case 2:Ol-cr-20202-.]TF Document 276 Filed 05/02/05 Page 2 of 3 Page|D 300

PROB 49

UNITED STATES DISTR}CT COURT
for the
WESTERN DISTRICT OF TENNESSE

Waiver of Hearing co Modify Conditions
of Probation/Supervised Release or Emnd Tcrm of Supetvision

United Stetes of Ameriea
v. Cn'mina| No. 01-20202~001~(3

Mary Roberts

l have been advised and understand that I am entitled by law to a hearing and assistance of
counsel before any unfavorable change may be made in my Conditions of Probation and Supervised
Release or my period of supervision being extended. By “assistanee of counsel,” l understand that
l have the right to be represented at the hearing by counsel of my own choosing if I am able to retain
counsel. l also understand that I have the right to request the Court to appoint counsel to represent
me at such a hearing at no cost to myself if I am not able to retain counsel of my own choosing.

l hereby voluntarily waive my statutory right to a hearing and to assistance ofcounsel. l also
agree to the following modification of my Conditions of Probation and Supervised Release or to the
proposed extension of my term of supervision:

(1) The defendant shall pay restitution at a rate of`$200.00 per month, to begin immediately

(2) The defendant shall apply 100% of any l-`ederal or State income tax refund received during the
term of supervision toward restitution

Witness: }\9/74»1;£ , Signe '
U.S. ProbationO leer M ryR b rts

Date: fig ==-` 5,[03/

 

SDISTRICT COURT - WESTRNE D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 276 in
case 2:0]-CR-20202 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

Lavvrence J. Laurenzi

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

